                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA
    DYNAMIC INDUSTRIES, INC., DYNAMIC          *
    INDUSTRIES INTERNATIONAL, LLC and          * NO. 2:21-CV-748
    DYNAMIC INDUSTRIES SAUDI ARABIA, LTD.,     *
                                               *
                          Plaintiffs,          *
    VERSUS                                     * JUDGE IVAN L.R. LEMELLE
                                               *
    METLIFE - AMERICAN                         *
    INTERNATIONAL GROUP – ARAB NATIONAL *
    BANK COOPERATIVE INSURANCE                 * MAG. JANIS VAN MEERVELD
    COMPANY; WALAA COOPERATIVE                 *
    INSURANCE CO.; AMERICAN LIFE               *
    INSURANCE COMPANY; AIG MEA                 *
    INVESTMENTS AND SERVICES COMPANY and *
    MARSH & MCLENNAN COMPANIES INC.            *
                          Defendants.          *
    * * * * * * * * * * * * * * * * * * ****** *
       REPLY IN FURTHER SUPPORT OF FORUM NON CONVENIENS DISMISSAL
      Walaa Cooperative Insurance Co. (“Walaa”), successor in interest to improperly named/non-

existent entity Metlife AIG-ANB, submits this brief in further support of its Motion to Dismiss for

forum non conveniens (“FNC Motion”) (ECF No. 45) to respond to legal and factual inaccuracies

in Plaintiffs’ Opposition (ECF No.67).1 Plaintiffs’ rely solely on La. Rev. Stat. §22:868 to avoid

the Policy’s mandatory Saudi forum/jurisdiction clause, but that statute does not apply. Even if

it did, the FNC public/private interest factors require dismissal in favor of a Saudi forum,

notwithstanding Plaintiffs’ factually wrong efforts – devoid of Saudi-law evidence responsive to

Walaa’s - to distract the Court from the total lack of any Louisiana nexus.

    I.   Louisiana Law does not Apply
      A. Entrenched Federal Maritime Law Nullifies any Effect of Louisiana Public Policy
      Plaintiffs admit that “federal law governs the enforceability of forum selection clauses” (ECF

No. 67, p. 3), but then suggest that this federal court must “interpre[t] state law” to determine the


1
 Walaa incorporates by reference its simultaneously filed Reply to Plaintiffs’ Opposition (ECF No. 70) to Walaa’s
Rule 12 Motion (ECF No. 44).

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enforceability of the Saudi Arabian forum/jurisdictional selection clause in the Policy. The

argument is both internally inconsistent and ignores uniform holdings of this Court, the Louisiana

Supreme Court, and the Fifth Circuit that federal maritime law regarding forum/jurisdictional

selection trumps Louisiana law.2 The Policy providing CGL coverage for maritime risks is a

marine insurance policy under Fifth Circuit precedent.3 Under well-settled law, Louisiana state

public policy is irrelevant and inapplicable in this federal dispute over a maritime contract.4

    B. Louisiana Revised Statute §22:868 Does Not Apply
    Even if Louisiana public policy were material (it is not), Plaintiffs rely exclusively on

inapplicable provisions of La. Rev. Stat. §22:868 in attempting to meet their “high burden of

persuasion”5 in challenging the Policy’s mandatory Saudi Arabian forum selection clause, exactly

as they did in their Complaint (ECF No. 35, ¶¶53-56). Because the statute does not apply, the

Policy clause by definition cannot “contravene a strong public policy of” Louisiana.6

        1. The Policy was not Issued/Delivered in Louisiana
    Plaintiffs initially argue the Policy was “delivered or issued for delivery” in Louisiana on the

premise that Marsh KSA was acting as Walaa/Metlife AIG-ANB’s agent – not as Plaintiffs’

authorized broker – during Policy negotiation and placement (ECF No. 67, pp. 6-8). Plaintiffs rely

on their Rule 12 Opposition argument that the “Broker Authorization Letter” (BLA) issued by

DISA only authorized Marsh KSA to “communicate” regarding the Policy, but not to accept


2
  Falk v. Marsh Inc., 2012 WL 13001817, at *5 (E.D. La. July 9, 2012) (Lemelle, J.); Lejano v. Bandak, 705 So. 2d
158, 166 (La. 1997); Calix-Chacon v. Glob. Int'l Marine, Inc., 493 F.3d 507, 510 (5th Cir. 2007).
3
  Taylor v. Lloyd's Underwriters of London, 972 F.2d 666, 668 (5th Cir. 1992) (“Because the CGL policy ‘insures
against certain maritime risks and losses,’ it provides maritime insurance within the meaning of Wilburn Boat”).
4
  Barnett v. DynCorp Int'l, L.L.C., 831 F.3d 296, 301 (5th Cir. 2016) (FNC dismissal based on Kuwaiti forum clause).
5
  Id. at 309.
6
  Weber v. PACT XPP Techs., AG, 811 F.3d 758, 776 (5th Cir. 2016). Plaintiffs discuss the recent (effective August 1,
2020) amendment to §22:868 in response to the Al Copeland and Creekstone/Juban decisions of the Fifth Circuit and
Louisiana Supreme Court (respectively) (ECF No. 67, pp. 4-5). But this amendment (and the decisions prompting it)
are irrelevant because the statute is inapplicable regardless. Further, Plaintiffs’ discussion of Louisiana cases
addressing the anti-arbitration provisions of §22:868 is irrelevant - and wrong - because the Policy’s forum/
jurisdictional selection clause is not an arbitration clause; and the New York Convention would preempt any effect of
the Louisiana statute. McDonnel Grp., L.L.C. v. Great Lakes Ins. SE, UK Branch, 923 F.3d 427, 432 (5th Cir. 2019).

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delivery. This is flatly wrong: the BLA expressly and exclusively appointed Marsh KSA as

DISA’s insurance representative and broker and authorized Marsh KSA to be “furnish[ed]” with

all “insurance contracts…policies, certificates, or other data MARSH [KSA] may request” from

Walaa/Metlife AIG-ANB – all of which Marsh KSA did on behalf of DISA and DII, as detailed

with record citations in Walaa’s Reply to Plaintiffs’ Rule 12 Opposition (see pp. 3-7). Plaintiffs’

own documents, and Saudi laws regulating Marsh KSA/Walaa (Ex. 2, ¶¶4-16), show Marsh KSA

acted and could solely act as Plaintiffs’ broker, expressly authorized to accept Policy issuance/

delivery for Plaintiffs via the BLA and their dealings in Saudi Arabia with Marsh KSA.

   Documents submitted in Plaintiffs’ Declaration are further best evidence that Marsh KSA was

Plaintiffs’ authorized broker, starting with Marsh KSA’s email forwarding the Policy to Plaintiffs:

       Please find attached the [Walaa] insurance company issued policy.
       The policy seems to be in order based on the policy schedule checked by us. Kindly
       let us know if you find any discrepancy or need any changes to be done.
       Also advise at which address to send the original policy document.
(ECF No. 70-1, Ex. A-5, p. 1). This responded to Plaintiffs’ requests for Marsh KSA to “please

obtain the policy number and policy wording [they] have been requesting from [Marsh

KSA]/Marsh for many weeks” (emphasis original) and “[w]hen will you be done with your

review [of the Policy] so you can send me the policy?”; and followed an earlier Marsh KSA email

confirming it had “received the direct policy with full wordings [and was] [r]eviewing the same

before sending” (id. at pp. 2-3, 8). Marsh KSA thus accepted, reviewed, and delivered the Policy

to Plaintiffs for approval after Marsh KSA initially received issuance/delivery, all in Saudi Arabia

at Plaintiffs’ specific direction. Further, Plaintiffs via Marsh KSA later requested renewal of the

same Policy, including the Saudi forum/jurisdictional selection clause (ECF No. 45-4, p. 99/208).

   Plaintiffs’ follow-on contention that the Policy was issued/delivered for issuance in Louisiana

(ECF No. 67, pp. 7-8) is likewise belied by the objective evidence and Plaintiffs’ admissions.

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Plaintiffs’ own documents expressly state the Policy was issued and delivered in Saudi Arabia:

a January 17, 2017 email from Marsh KSA to the Marsh Entities (then forwarded to Plaintiffs),

expressly states that “[t]he local policy [i.e. the Policy] in Saudi Arabia will be issued by company

[Walaa/Metlife AIG-ANB] in Saudi Arabia” (ECF No. 70-1, Ex. A-2, p. 5). Further, Plaintiffs

admission that the Policy “was electronically mailed to Plaintiffs by Marsh” (ECF No. 70-1, ¶35)

- specifically Marsh KSA, as indicated in the email exhibits attached to Plaintiffs’ Declaration (see

ECF No. 70-1, Ex. A-5, p.1 et seq.) - necessarily admits the Policy was first issued/delivered by

Walaa/Metlife AIG-ANB in Saudi Arabia to Marsh KSA as Plaintiffs’ authorized and exclusively

appointed broker of record with authority to receive the Policy as required by Saudi law/

regulations (see ECF No. 45-4, ¶38; Ex. 2, ¶5). The self-serving contention that “Plaintiffs have

no record of the Policy ever having been delivered by anyone to any Dynamic entity, including

DISA, in Saudi Arabia” (ECF No. 70-1, ¶36; see also ECF No. 67, p. 8) is incorrect, ignoring the

incontrovertible fact that the Policy was issued/delivered by email and hand delivery (ECF 45-4,

¶¶57-61) to Marsh KSA in Saudi Arabia, as DISA’s (via the BLA) and DII’s (at its Texas address)

expressly authorized broker for receipt of the Policy. Any New-Orleans-based activities noted in

Plaintiffs’ Opposition (ECF No. 67, pp. 7-8) did not involve Walaa/Metlife AIG-ANB (see Walaa

Declaration, ECF No. 45-4, ¶¶35-38, 59-66) or any transmission of the Policy by it; and any New-

Orleans-related correspondence (ECF No. 70-1, Ex. A-1 to A-16) was neither sent by nor

addressed/copied to Walaa/Metlife AIG-ANB. All such exchanges were exclusively among the

Marsh Entities, Plaintiffs, and Marsh KSA as Plaintiffs’ authorized Saudi Arabian broker.7

    With Plaintiffs’ fallacies dispelled, their attempts (ECF No. 67, pp. 6-8) to distinguish the Fifth

Circuit’s controlling McDermott decision fail (as Walaa has explained, ECF No. 45-1, pp. 11-14).

7
  Plaintiffs cite inapposite cases (under the inapplicable Louisiana Direct Action statute) to suggest “delivery
orchestrated to avoid…Louisiana law” is invalid (ECF No. 67, p. 7). But there is no allegation (or possibility) of such
“orchestration” here, where the process was specifically to comply with governing Saudi law.

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         2. The Policy Qualifies as “Ocean Marine” and/or “Foreign Trade” Insurance
    Plaintiffs argue the Policy is not “ocean marine” insurance because it provides CGL coverage.

This is wrong: the Fifth Circuit has unequivocally held a “CGL policy ‘insur[ing] against certain

maritime risks and losses’ … provides maritime insurance.”8 Further, the Louisiana insurance

code itself broadly defines “ocean marine insurance” so as to encompass the Policy:

         “Ocean marine insurance” means marine insurance as defined in R.S. [§]22:47(13)
         [and] any other form of insurance, regardless of the name, label, or marketing
         designation of the insurance policy, which insures against maritime perils or
         risks and other related perils or risks, which are usually insured against by
         traditional marine insurances such as hull and machinery, marine builders' risks,
         and marine protection and indemnity. La. Rev. Stat. §22:46(11.1)
         [“Marine insurance” includes] (b) Insurance against loss or damage to persons or
         property in connection with or appertaining to marine, inland marine, transit, or
         transportation insurance, including liability for loss of or damage to [sic] either
         arising out of or in connection with the construction, repair, operation, maintenance,
         or use of the subject matter of such insurance…La. Rev. Stat. §22:47(13).
Plaintiffs invoke maritime jurisdiction (ECF No. 35, ¶11) and seek marine CGL coverage for an

Incident involving vessels engaged in subsea demolition operations (see id. ¶¶23-35). The Policy

is specifically endorsed (ECF No. 1-2, p. 34/37) to cover vessel operations (if there is P&I coverage

for such vessels, and only excess of $25 million). Any coverage under the Policy would be “ocean

marine insurance” exempt from §22:868 under these Louisiana definitions and Fifth Circuit law.

    Tellingly, Plaintiffs’ brief omits entirely the initial clause of §22:46’s definition of “ocean

marine insurance,” which expressly includes “any other form of insurance, regardless of the name,

label, or marketing designation of the insurance policy.”9 Plaintiffs paste the Policy’s “name,

label [and] marketing designation” to suggest Walaa has “blatantly ignore[d]” that CGL insurance


8
  Taylor v. Lloyd's Underwriters of London, 972 F.2d 666, 668 (5th Cir. 1992). As Walaa has explained (ECF No.
45-1, pp. 6-9), the rule upholding enforcement of forum selection clauses is an entrenched, specific and controlling
federal maritime rule requiring enforcement of the Policy’s forum/jurisdictional selection clause under Wilburn Boat.
9
   Plaintiffs emphasize the term “traditional marine insurances” (ECF No. 67, p.8) in selectively quoting §22:46,
presumably to suggest that CGL is not “hull and machinery, marine builder’s risk, [or] marine protection and
indemnity” insurance and should not be covered. This is legally incorrect. The term “such as” connotes a merely
illustrative list, State v. Muller, 365 So. 2d 464, 465 (La. 1978); thus, the statute encompasses marine CGL insurance.

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is “clearly not” “ocean marine insurance” (ECF No. 67, p. 9), but this itself “blatantly ignores”

the statutory definition (and Fifth Circuit law) that disregards mere names or labels.

       Plaintiffs next argue the Policy is not “foreign trade” insurance because it “does not provide

insurance for the exchange of goods” (ECF No. 67, p. 9). As Walaa has stated, the Louisiana

Insurance Code does not define the term “foreign trade insurance.” However, Louisiana law does

preclude Plaintiffs’ proposed definition limiting “foreign trade” to the mere “exchange of goods”

(ECF No. 67, p. 9). First, the Louisiana Revised Statutes elsewhere broadly define the term “trade”

as “the advertising, offering for sale, sale, or distribution of any services and any property,

corporeal or incorporeal, immovable or movable, and any other article, commodity, or thing of

value wherever situated…”10 Under this inclusive definition, Plaintiffs’ “distribution of…

services” to Saudi Aramco in Saudi Arabia would constitute “trade” that is necessarily and

objectively “foreign.” Second, as the Louisiana First Circuit has held, Plaintiffs’ operations (via

DISA) in Saudi Arabia absolutely qualify as “foreign trade” as that term relates to the phrase

“international trade” in the Louisiana Constitution: “These vessels [barges, tugboats, supply

vessels] spend much of their time in international waters… [and [w]hen they discharge cargo,

perform operations on foreign-flagged drilling rigs, and carry supplies and passengers into waters

of foreign countries, they are engaged in ‘international trade’ [under La. Const. art. 7, sec.

21(C)(16)].”11 Under this same common-sense, plain language definition, the Policy’s coverage

of Plaintiffs’ Saudi operations is “foreign trade insurance” exempt from §22:868.

           3. Plaintiffs Ignore the Plain Language of §22:868’s “Subjects… Resident” Provision
       Plaintiffs dispute Walaa’s argument that the conjunctive requirements of §22:868 (“[1]

deliver[y] or issu[ance] for delivery [of the Policy] in [Louisiana] and [2] cover[age of] subjects


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     La. Rev. Stat. §51:1402.
11
     Moonmaid Marine, Inc. v. Larpenter, 599 So. 2d 820, 824 (La. App. 1 Cir.) writ denied, 605 So. 2d 1120 (La. 1992).

                                                            6
located, resident, or to be performed in [Louisiana]”) necessarily require both the insured entity

and the subject matter insured to be “located, resident, or to be performed” in Louisiana.

Plaintiff’s argument ignores both and relies on the purported purpose or policy of the statute at the

expense of its actual words: “All that matters is that a Louisiana resident is involved in the Policy,

and … are the parties exposed to the risk here in New Orleans” (ECF No. 67, p. 11). This would

rewrite the statute (as Walaa has argued, ECF No. 45-1, pp. 15-16) and render superfluous the

entire second conjunctive component, effectively deleting it so that the statute would apply merely

on issuance/delivery to a Louisiana insured. The caselaw Plaintiffs tout from “an authoritative

legal icon” in fact contradicts their position: “[§22:868] incorporates a public policy determination

[regarding] contract[s] issued in Louisiana and covering a Louisiana subject…”12 This is

consistent with the same public policy Plaintiffs claim to rely on: protection of Louisiana entities

with respect to Louisiana risks13 - not Louisiana entities and their foreign subsidiaries engaged in

foreign projects with foreign parties utilizing foreign insurers, a principle the Louisiana

Department of Insurance (“LDI”) itself acknowledged in admitting non-applicability of the statute

in McDermott.14 Plaintiffs themselves - not Walaa – have “impermissibly request[ed] this Court


12
   Lawrence v. Continental Ins. Co., 199 So. 2d 298 (La. App. 3 Cir. 1967) (Tate, J.).
13
   See id. (uninsured motorist policy issued to Louisiana insured; out-of-state accident causing losses in Louisiana).
14
   The LDI instituted separate/related declaratory judgment litigation in McDermott. However, as noted and quoted
in Underwriters’ appellate brief in McDermott, the LDI voluntarily dismissed its suit under a stipulation that §22:868
(via its predecessor §22:629) did not apply because (inter alia) there was no “subject” insured in Louisiana:
     Even if [§]22:629 were otherwise applicable, the McDermott Policy does not satisfy its factual requirements
     inasmuch as the McDermott Policy does not cover subjects “resident or to be performed in.” The subject
     covered by the McDermott Policy at issue in the McDermott Litigation is the property insured -- the allegedly
     damaged heat exchangers. Pursuant to the May 17, 1991, Joint Stipulation in the McDermott Litigation, the
     heat exchangers were not delivered, installed, tested, erected, engineered or manufactured in Louisiana. The
     heat exchangers were sold by McDermott's corporate subsidiary, the Babcock & Wilcox Company (a
     corporation organized under the laws of Delaware with its principal place of business in Ohio), to the
     Baltimore Gas and Electric Company (“BG&E“) in Maryland. The heat exchangers were installed by B&W
     at BG&E's power plant in Maryland, and the alleged loss occurred there.
Brief of Lloyd's Underwriters of London, 1996 WL 33425589 (5th Cir., Nov. 4, 1996). The LDI stipulation is filed in
the CM/ECF record of Case No. 92-1904, ECF No. 29 (E.D. La, Oct. 13 ,1993), but is not electronically available
(hence the quotation from the Westlaw version of the appellate brief). The Fifth Circuit expressly declined to address
this issue, as it disposed of the case on other dispositive grounds. See McDermott, 120 F.3d at 587 FN 10.

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to simply ignore the plain language of the statute” (ECF No. 67, p. 10).15

         4. §22:868(D) Also Precludes Application of the Statute to the Policy
     Plaintiffs also incorrectly argue the Policy is subject to LDI approval under §22:861 (ECF No.

67, p. 11). The Policy is expressly subject solely to SAMA regulatory approval in Saudi Arabia,

not LDI oversight (ECF No. 1-2, p. 4/37; ECF No. 45-4, ¶¶8-10, 20-21; Ex. 2, ¶5). More, the

Policy provides “ocean marine”/“foreign trade insurance” that §22:851 categorically exempts from

§22:861’s form-approval provisions (supra §I.B.2).16 Also, under (inapplicable) Louisiana law,

Walaa would either be an “alien insurer” “formed under the laws of any country other than the

United States,” not authorized by or under jurisdiction of the LDI17; or an “eligible unauthorized

insurer” (meeting regulatory requirements of its home Saudi Arabian jurisdiction and minimum

capitalization requirements), and thus a “surplus lines insurer,”18 which §22:446 expressly exempts

from any LDI-approval requirement.             Either way, LDI approval would not apply to the Policy.

     Plaintiffs’ further suggestion that §22:446’s LDI-approval exemption only applies to “bespoke

policies of [surplus lines] insurance” (ECF No. 67, p. 12) ignores the unequivocal, unlimited, and

complete exemption granted to surplus lines casualty insurers under §22:446 without regard to

whether a policy form is generic or bespoke. Plaintiffs’ argument (again) seeks to rewrite the law.

 II.     FNC Private/Public Interest Factors Favors a Saudi Arabian Forum
     The Policy’s mandatory Saudi Arabian forum/jurisdictional selection is not invalidated by any

Louisiana law, and precludes a full private/public interest factor balancing analysis. But even

absent the clause, the full FNC analysis still dictates dismissal in favor of a Saudi Arabian forum.

     A. Plaintiffs’ Inherently Foreign Status Precludes Substantial Deference to this Forum


15
   Plaintiffs’ Opposition does not even address the myriad other Louisiana Insurance Code provisions cited by Walaa
in which the term “subject” means the subject matter insured, not the insured entity itself. ECF No. 45-1, pp. 15-16.
16
   La. Rev. Stat. §22:851 (“The applicable provisions of this Chapter shall apply to insurance other than ocean marine
and foreign trade insurances”). §22:861’s form approval requirement is part of the “Chapter” referred to in §22:851.
17
   See La. Rev. Stat. §22:46(1) (defining “alien insurer” & (3) (defining “authorized insurer).
18
   Id. at §22:46(7.1) and §22:46(17.1). See also ECF No. 45-4, ¶¶20-22.

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     Plaintiffs misstate the importance/weight of their forum choice, suggesting that “depriving the

plaintiff of his chosen forum is an exceptional outcome” (ECF No. 67, p. 14). This ignores that

Plaintiff DISA – the sole real party in interest whose alleged liability to Saudi Aramco for a Saudi

Arabian Incident is the sole possible basis for Plaintiff DI’s claim as guarantor – is a foreign

(Saudi) entity in a multinational corporate operation. “[The generally] strong presumption in

favor of the plaintiff's choice of forum…applies with less force when the plaintiff or real parties

in interest are foreign.”19 The Fifth Circuit has rejected heightened deference to a multinational

plaintiff’s chosen forum: thus, “[g]iven that [Plaintiffs function as] international compan[ies] with

facilities in the alternate [Saudi Arabian] forum, [it may be] reasonably assumed that that alternate

forum would not be inconvenient for [Plaintiffs] [and] the [C]ourt [may] affor[d] the [P]laintiff[s’]

forum ‘somewhat lessened’ deference.”20 The Fifth Circuit has reiterated this theme:

        Judicial concern for allowing [U.S.] citizens access to American courts has been
        tempered by the expansion and realities of international commerce. When a [U.S.]
        corporation doing extensive foreign business brings an action for injury occurring in
        a foreign country, many courts have partially discounted the plaintiff's preference of
        a [U.S.] forum…[P]arties who choose to engage in international transactions should
        know that when their foreign operations lead to litigation they cannot expect always
        to bring their foreign opponents into a [U.S.] forum when every reasonable
        consideration leads to the conclusion that the…the litigation should be elsewhere.21
     Here, the fundamental underlying issue - DISA’s potential fault/negligence (if any) in

damaging Saudi Aramco’s subsea cable, which is the sole basis for potential coverage to DI as

guarantor - involves entirely Saudi Arabian facts, property, actors, and evidence. As

international commercial actors who voluntarily procured insurance from a Saudi insurer for a

Saudi project, Plaintiffs’ “choice” of a Louisiana forum does not warrant substantial deference.

     B. Plaintiffs Offer No Basis to Refute Presumptive Adequacy/Availability of Saudi Forum



19
   Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255 (1981).
20
   Innovation First Int'l, Inc. v. Zuru, Inc., 513 F. App'x 386, 392 (5th Cir. 2013).
21
   DTEX, LLC v. BBVA Bancomer, S.A., 508 F.3d 785, 795 (5th Cir. 2007).

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     Plaintiffs suggest – with no support or proof – that the Saudi Arabia IDCs are an inadequate

and unavailable forum (ECF No. 67, pp. 15-17). The argument fails at every turn.

     First, “the adequacy of a foreign forum’s substantive laws is presumed, absent an affirmative

showing to the contrary”; thus, when a plaintiff “has made no showing that [the foreign forum’s]

laws are inadequate,” and when the defendant has “provided support for [the] proposition that

[foreign] law is adequate [in the form of a foreign-law expert declaration], [a court will]

conclude[e] that [the foreign forum] is an available, adequate alternative forum.”22 Indeed, when

a plaintiff “has not provided the Court with an expert's opinion on the issue…the Court will

assume… that [the foreign forum] is…adequate.”23 Walaa has submitted a Rule 44.1 Declaration

(ECF No. 45-5) and Supplemental Declaration (Exhibit 2) from Saudi Arabia-qualified lawyer

Mohammed Ibrahim Aldowish confirming the availability and adequacy of the Saudi Arabian

IDCs. Plaintiffs have presented no countervailing evidence/authority. More, multiple courts in

the Fifth Circuit recognize the availability/adequacy of substantially similar quasi-judicial Saudi

Arabian dispute resolution committees and specialized judicial courts.24 The adequacy/availability

of the Saudi IDCs must be legally and definitively presumed – and the record proves as much.

     Plaintiffs further speculate that Saudi Arabia is inadequate/unavailable because the domestic

Marsh Entities “who were intimately involved in the procurement and negotiation of th[e] Policy”

are “likely not subject to suit or arbitration in Saudi Arabia” (ECF No. 67, p. 15). Plaintiffs identify

nothing in Saudi law to substantiate this conjectural “likely” outcome. In fact, under Saudi law,

the Marsh Entities would likely be subject to jurisdiction in any IDC proceeding (assuming any


22
   Akerblom v. Ezra Holdings Ltd., 2012 WL 464917, at *4 (S.D. Tex. Feb. 13, 2012).
23
   MCR Oil Tools, LLC v. Wireline Well Servs. Tunisia, 2021 WL 1086995 (S.D. Tex. Mar. 22, 2021).
24
   Forsythe v. Saudi Arabian Airlines Corp., 885 F.2d 285, 290 (5th Cir. 1989) (Saudi Arabian “Labor and Settlement
of Disputes Committee” as adequate alternative forum); Jeha v. Arabian Am. Oil Co., 751 F. Supp. 122, 125–26 (S.D.
Tex. 1990), aff'd 936 F.2d 569 (5th Cir. 1991) (Saudi Arabian “Legal Medical Commission” adequate alternative
forum for medical malpractice claim); Soroof Int'l Co. v. Transocean Inc., 2010 WL 11583336, at *4 (S.D. Tex. Sept.
30, 2010) (Saudi “Board of Grievances,” specialized administrative court, appropriate forum for employment dispute).

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viable claim exists).25 And from a U.S. law standpoint, Saudi Arabia would have specific personal

jurisdiction over the Marsh Entities, if they “purposefully availed” themselves of the Saudi forum

by engaging with their Saudi affiliate Marsh KSA to place insurance on Plaintiffs’ behalf. Nor

does Plaintiffs’ position make sense. Based on the logic of their own unsupported, legally wrong

“guess” that the Marsh Entities would not be subject to Saudi jurisdiction, Marsh KSA (Plaintiffs’

Saudi broker, a necessary party who was “intricately involved in the procurement and negotiation

of th[e] Policy” (ECF No. 67, p. 15)), would also not be subject to this Court’s jurisdiction. Indeed,

Plaintiffs have conspicuously not sued Marsh KSA, presumably due to jurisdictional concerns.

     Regardless, Plaintiffs’ claims for breach of duty/negligence against the Marsh Entities are

premature before a determination of coverage under the Policy. If there is coverage, there is no

claim against the Marsh Entities.26 Thus, the Marsh Entities are not necessary parties to any

coverage dispute, and could be pursued separately - in an appropriate jurisdiction - after coverage

is determined in the contractually mandated, and more convenient Saudi Arabian jurisdiction.

     Plaintiffs also invalidly suggest Saudi Arabia is not available/adequate because they intend to

sue reinsurers whom Plaintiffs guess are “likely” located in London (ECF No. 67, p. 16). Putting

aside that Plaintiffs appear to have no such cause of action,27 their guess is refuted by their own

documents showing the reinsurers are in the Middle East (Dubai, Bahrain), not London (ECF

No. 70-1, Ex. A-2, p. 5). A Saudi Arabian forum – not this Court - would be more convenient if

any of these Middle Eastern reinsurers were to somehow be legitimately targeted by Plaintiffs.

     Plaintiffs also speculate – without any support from a Saudi Arabian legal practitioner - that



25
   See Ex. 2, ¶¶17-21.
26
    See, e.g., Terry Black's Barbecue, LLC v. State Auto. Mut. Ins. Co., 2020 WL 6537230, at *4 (W.D. Tex. Nov. 5,
2020) (collecting cases) (insured's negligence claim against his insurance agency was not ripe for adjudication because
it was contingent on unresolved question whether insured was entitled to coverage under policy).
27
   See LaSalle Par. Sch. Bd. v. Allianz Glob. Risks U.S. Ins. Co., 2008 WL 1859847, *6 (W.D. La. Apr. 24, 2008);
(“The Louisiana Supreme Court has held that an insured generally may not sue its insurer's reinsurer directly…”).

                                                          11
Saudi Arabia is unavailable/inadequate because any decision in a Saudi Arabian IDC proceeding

(which they incorrectly describe as “arbitration”28) would be unenforceable (ECF No. 67, p. 16).

This is flatly wrong. SAMA regulations mandate “SAMA shall request the license withdrawal

of the Company or the Insurance and Reinsurance Services Provider…[for] [f]ailure to pay a final

judgment against it related to its insurance operation.”29 The threat of de-licensing and

essentially shutting down a recalcitrant entity’s business is a powerful enforcement tool. Further,

the Saudi Arabian “Enforcement Law” extends to IDC decisions. Thus, once final, IDC decisions

are affixed with an enforcement seal and become an “execution deed” that in turn can be enforced

against assets of the losing party (amongst other potential enforcement remedies even more

expansive than in the U.S.).30 And, ironically, Plaintiffs’ baseless (and wrong) speculation as to

enforceability of IDC decisions ignores that any judgment issued in these proceedings would likely

not be enforceable against Walaa in Saudi Arabia. Specifically, a Saudi court would only enforce

a judgment of this Court if various specific factors under the Saudi “Enforcement Law” were met,

including inter alia (a) that this Court was competent to hear the case rather than a Saudi court,

which is not so here based on the Saudi forum/jurisdictional selection clause and because this

Court lacks jurisdiction as stated in Walaa’s Rule 12 Motion; and (b) only if this Court’s judgment

were not inconsistent with Sharia law and would reciprocally honor a Saudi judgment.31

       Plaintiffs next hypothesize (again with no Saudi legal support) that IDC proceedings in Saudi

Arabia may not be sufficiently similar to those of this Court with respect to discovery, depositions,


28
     The IDCs conduct quasi-judicial proceedings, not arbitration. See generally ECF 45-4; Ex. 2. ¶¶34-42.
29
         See    SAMA    Regulations,   Art. 76.1.k available at https://www.sama.gov.sa/en-
US/Laws/InsuranceRulesAndRegulations/%D8%A7%D9%84%D9%84%D8%A7%D8%A6%D8%AD%D8%A9%
20%D8%A7%D9%84%D8%AA%D9%86%D9%81%D9%8A%D8%B0%D9%8A%D8%A9%20%D9%84%D9%8
6%D8%B8%D8%A7%D9%85%20%D9%85%D8%B1%D8%A7%D9%82%D8%A8%D8%A9%20%D8%B4%D8
%B1%D9%83%D8%A7%D8%AA%20%D8%A7%D9%84%D8%AA%D8%A3%D9%85%D9%8A%D9%86%20
%D8%A7%D9%84%D8%AA%D8%B9%D8%A7%D9%88%D9%86%D9%8A.pdf. See also Ex. 2, ¶¶23-24.
30
   See Ex. 2, ¶¶25-32.
31
    Id. at ¶21.

                                                          12
etc. - ironically disparaging Walaa’s Rule 44.1 declaration as ipse dixit despite their own total lack

of any Saudi legal evidence (ECF No. 67, pp. 16-17). Of course, differences in pretrial discovery,

trial practice and procedures are not relevant concern to the FNC adequacy/availability analysis.32

Regardless, IDC proceedings do allow for documentary and testamentary evidence

preparation/presentation: “All types of evidence may be used before the [IDCs], including

electronic and computer data, telephone recordings, fax correspondence, emails or SMS

messages”33; along with numerous other advantages in terms of oral advocacy, cost recovery, and

consideration of foreign authorities.34 Also, under general principles of Sharia Court procedure

applicable in the IDCs,35 discovery may be requested by the parties, or the IDCs sua sponte; and

may be directed by IDC-appointed case experts tasked with fact-finding and claim assessment.36

     C. The Private & Public Interest Factors Favor a Saudi Arabian Forum
     All Plaintiffs’ arguments under the private interest factors (which are irrelevant given the

Policy’s enforceable forum selection clause) suggest that a coverage determination can be made

based solely on the Policy and the Contract, without any need for Saudi Arabian evidence or

witnesses regarding the Incident, and without any consideration for Saudi Arabian law/process

(ECF No. 67, pp. 17-18). This is wrong. Fault for the Incident is a necessary prerequisite to a

determination of coverage. As Walaa explains in its incorporated Reply to Plaintiffs’ Rule 12

Opposition (p. 2), the Contract as quoted in Plaintiffs’ own Complaint only renders DISA (and

allegedly DI as parent guarantor) liable for property damage “due to an event resulting from the



32
   See Adams v. Merck & Co. Inc., 353 F. App'x 960, 964 (5th Cir. 2009) (“[I]nstitutional conditions that go to the
heart of policy differences between the [U.S. and] foreign fora [as to] appropriate mechanisms for resolving civil
disputes [i.e. discovery/trial procedure]” are irrelevant to FNC analysis) (citing Robinson v. TCI/US West Commc'ns.,
117 F.3d 900, 902-03 (5th Cir.1997) (given “enormous scope” of discovery under American law, appellant was no
doubt correct less discovery would be available under English law, but this did not make English forum inadequate)).
33
   See ECF No. 45-5, Ex. A, p. 8/23, Art. 7, Working Rules and Procedures of IDCs.
34
   Ex. 2, ¶42.
35
   ECF No. 45-5, Ex. A,. at p. 10/23, Art. 12.
36
   See Ex. 2, ¶¶34-42.

                                                        13
negligence, willful misconduct, or fault of CONTRACTOR [DISA] OR CONTRACTOR

GROUP CONTRACTOR [i.e. DISA’s subcontractors]” (ECF No. 35, ¶38). Thus, contrary to

Plaintiffs’ dismissive suggestion that coverage can be resolved on mere review of documents, this

is absolutely not the case. As Walaa has explained (see ECF No. 45-1, pp. 22-25), resolution of

fault for the Incident will involve witnesses/evidence from DISA’s Saudi Arabian personnel;

witnesses/evidence from Saudi Aramco, a foreign sovereign and not subject to jurisdiction/

subpoena power of this Court; and witnesses/evidence from DISA’s foreign/Chinese

subcontractors involved in the operations that led to the Incident. Moreover, resolution of this

factual prerequisite of fault in the Incident is subject to mandatory arbitration in Saudi Arabia

(and/or Dubai) under the DISA/Saudi Aramco Contract and DISA’s Subcontract. There is also a

related dispute as to whether DISA has primary additional insured coverage under its

subcontractor’s liability policy with Saudi Arabian insurer Alinma, which is not subject to

jurisdiction in this Court and whose policy mandates Saudi Arabian law and jurisdiction. More,

the Policy’s relevant watercraft coverage “is subject to a minimum attachment of USD 25,000,000

any one occurrence” (ECF No. 1-2, PDF p. 34/37), and thus would only attach after exhaustion of

$25 million in underlying coverage, presumably from Plaintiffs and/or their contractors’ other

Saudi/foreign insurers. And as to all these issues, Saudi Arabian law will govern – particularly

under the Policy itself, which includes a mandatory, enforceable Saudi Arabian choice-of-law

clause that applies regardless of the forum.37 Thus, even if this Court retains the case, Saudi legal

experts will be necessary to establish governing law, contrary to Plaintiffs’ unsupported ipse dixit

that “Louisiana law will apply” (ECF No. 67, p. 19). Last, it is possible Saudi Aramco’s own fault

(i.e. failure to properly identify/designate the location of the subsea cable) may have been a causal



37
     St. Paul Fire & Marine Ins. Co. v. Bd. of Comm'rs of Port of New Orleans, 418 F. App’x 305, 309 (5th Cir. 2011).

                                                          14
factor in the Incident. If so, the Contract - in a section Plaintiffs conspicuously omitted via ellipsis

in their Complaint (ECF No. 35, ¶38) - would make Saudi Aramco liable to Plaintiffs,38 but Saudi

Aramco (a foreign sovereign) cannot be brought before this Court. Plaintiff’s suggestion that

Saudi Arabian facts don’t matter is directly contrary to Plaintiffs’ own declaratory judgment

requests specifically seeking a declaration that “the Incident was caused… by the operations of

[DISA’s] subcontractor, COOEC” (Rec. Doc. 35, ¶60(e)), which necessarily requires resolution

of the factual cause of the Incident; and a declaration that “[t]here is no ‘other insurance’ available

to Plaintiffs” (Rec. Doc. 35, ¶60(h)), which would necessarily require construction of inter alia

the Alinma policy, in violation of that policy’s choice-of-jurisdiction/law provisions.

     Further, the catch-all “practical problems” private interest factor requires consideration of the

“enforceability of judgment” in the plaintiff’s chosen forum;39 but as explained above, any

judgment from this Court would likely not be enforceable against Walaa in Saudi Arabia.

     As for public interest factors, Plaintiffs again advance the false premise that this case is not

centered in Saudi Arabia as to both the law and the requisite facts to which that law must be

applied. Plaintiffs incorrectly suggest (as to the first “administrative difficulties” factor) that

proceedings here would “undeniably proceed to trial quicker than in” the Saudi Arabian IDCs

(ECF No. 67, p. 19) without any factual support; without acknowledging the sizeable

burdens/delays inherent in the involvement of multiple foreign parties with no Louisiana nexus;

and with total disregard for the statistical summary referenced in Walaa’s Declaration

demonstrating the efficiency of IDC proceedings.40 Plaintiffs’ remaining arguments fail, as they

rely on the incorrect premise that Louisiana law will apply to the Policy.

38
    See Exhibit 1, Contract Sched. H, Art. 1.20/16.2.3 (“If the loss, damage or destruction of the FACILITIES or
SAUDI ARAMCO Other Property is due to a cause other than as set out in Paragraphs 16.2.2 [i.e CONTRACTOR
fault] SAUDI ARAMCO shall compensate CONTRACTOR for such WORK in accordance with Paragraph 10.”).
39
   DTEX, LLC v. BBVA Bancomer, S.A., 508 F.3d 785, 794 (5th Cir. 2007).
40
   See ECF No. 45-5, ¶14. See generally https://www.idc.gov.sa/en-us/Pages/ReportsAndStatistics.aspx.

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 Respectfully submitted,

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